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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                             CASE NO. 1:12-cr-00213 AWI-BAM
12                                Plaintiff,               STIPULATION AND ORDER
                                                           RESETTING RESTITUTION
13                                                         HEARING AND EXTENDING
                                                           SURRENDER DATE
14   v.
15                                                         Old Date: July 27, 2015
                                                           Old Time: 10:00 a.m.
16   ARLENE JEANETTE MOJARDIN,
                                                           New Date: August 10, 2015
17                                Defendants.              New Time: 10:00 a.m.
                                                           Court:    Two
18                                                                (Hon. Anthony W. Ishii)
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20
                                                STIPULATION
21
            The United States of America, by and through its counsel of record, and defendant, by and
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     through her counsel of record, hereby stipulate as follows:
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            1.      Defendant Arlene Jeanette Mojardin was sentenced by the Court on May 18, 2015,
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     following conviction after a guilty plea for one count of conspiracy to commit bank fraud, mail fraud
25
     and wire fraud (18 U.S.C. § 1349).
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            2.      Pursuant to 18 U.S.C. § 3664(d)(5), the Court set a hearing on restitution to determine
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     victims’ losses as to defendant Mojardin for July 27, 2015 at 10:00 a.m.
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 1          3.      The parties are still attempting to determine whether they can reach an agreement and

 2 stipulation as to the restitution amount owed by the defendant and request additional time to address

 3 this issue. The parties thus request that the restitution hearing for defendant Mojardin be reset to

 4 August 10, 2015 at 10:00 a.m. The defendant agrees that there is no prejudice to her from the

 5 continuance. The parties agree that the continuance will conserve time and resources for the parties

 6 and the Court.

 7          4.      The new restitution hearing date of August 10, 2015 will still satisfy the requirement

 8 of 18 U.S.C. § 3664(d)(5), requiring a determination of victim’s losses “not to exceed 90 days after
 9 sentencing.”

10          5.      At defendant Mojardin’s sentencing hearing, the Court ordered the defendant to self-

11 surrender to the designated Bureau of Prisons facility, or to the U.S. Marshal if no facility has been

12 designated, on July 27, 2015 by 2:00 p.m. (Dkt. No. 233).

13          6.      Defendant Mojardin requests a continuance of her self-surrender date to August 24,

14 2015, by 2:00 p.m. The reasons for the request are (1) to allow defendant Mojardin to attend her

15 continued restitution hearing, if the parties do not reach an agreement in advance of the hearing, and

16 (2) to allow defendant Mojardin to attend to the medical needs of one of her children. The

17 government does not oppose the defendant’s request for a continuance of her surrender date.

18          7.      Thus, the parties stipulate that defendant Mojardin’s surrender date of July 27, 2015,

19 should be continued to August 24, 2015, by 2:00 p.m.
20 IT IS SO STIPULATED.

21 DATED:           July 22, 2015
                                          /s/ Henry Z. Carbajal III
22                                        HENRY Z. CARBAJAL III
                                          KIRK E. SHERRIFF
23                                        Assistant United States Attorney
24 DATED:           July 22, 2015         /s/ E. Marshall Hodgkins
                                          E. MARSHALL HODGKINS
25                                        Counsel for Defendant
                                          ARLENE JEANETTE MOJARDIN
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                                                 ORDER
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             The issue of the amount and apportionment of restitution as to defendant Mojardin shall be
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     resolved at or before a restitution hearing on August 10, 2015 at 10:00 a.m. Defendant Mojardin’s
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     surrender date of July 27, 2015, is continued to August 24, 2015, by 2:00 p.m.
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 5 IT IS SO ORDERED.

 6 Dated: July 22, 2015

 7                                              SENIOR DISTRICT JUDGE

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